                                         UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF OREGON

In re                                              )             14-32100-rld7
                                                       Case No._______________
Todd Michael Spencer                               )
Jill Marie Spencer                                 )   NOTICE OF INTENT TO Sell
                                                   )   Property at Private Sale, Compensate
                                                   )   Real Estate Broker, and/or Pay any
                                                   )   Secured Creditor's Fees and Costs
                                                   )   [NOTE: DO NOT use to sell personally
Debtor(s)                                          )    identifiable information about individuals!]

1. An offer has been received by the trustee from ______________________________________,
                                                  RenX Group, LLC ("Buyer")                            whose relation
to the debtor(s) is ____________________________,
                    third party                          to purchase the following estate property (NOTE: If real
property, state street address here. Also attach legal description as an Exhibit to the original filed with the court):

Real property located at 1701 SE Oakshore Lane, Milwaukie, Oregon 97267 (See Legal Description below). Buyer will
purchase real property, subject to all liens and interests of any lien holders, and Trustee will transfer all rights, titles, interest
and claims by Trustee's Deed. Debtors have agreed to waive their homestead exemption in exchange for a separate payment
by Buyer.
Legal: Section 11 Township 2s Range 1e Quarter Dd Tax Lot 01400, Clackamas County, Oregon


for the sum of $______________
                     10,000    upon the following terms: Cash, payable upon court approval,.


2. Gross sales price: $________________.
                                 10,000          All liens on the property total: $________________,
                                                                                            n/a          of which the
trustee believes a total of $________________
                                      n/a          need not be paid as secured claims (because the lien is invalid,
avoidable, etc., the lienholder consents to less than full payment, or part or all of the underlying debt is not
allowable). Secured creditor(s) also seek(s) reimbursement of $________________
                                                                           n/a         for fees and costs. Total sales
costs will be: $________________.
                         n/a          All tax consequences have been considered and it presently appears the sale
will result in net proceeds to the estate after payment of valid liens, fees, costs and taxes of approximately:
$________________.
         10,000

3. [If real property] The court appointed real estate broker, ________________________________________,
                                                              n/a
will be paid _______________________________________________________________________________.
             n/a

NOTICE IS GIVEN that the trustee will sell the property, reimburse for any secured creditor's fees and costs, and
compensate any real estate broker upon the above terms and without further notice unless within 23 days of the
Trustee’s date below, the trustee receives a bid exceeding the above offer by at least __________________
                                                                                                      $1,000         (and
upon the same or more favorable terms to the estate), or an interested party both: (1) files a written objection to
the sale, the reimbursement of fees and costs or broker's compensation, setting forth the specific grounds for such
objection, with the Clerk of Court (i.e., if the 5-digit portion of the Case No. begins with "3" or "4", mail to 1001 SW
5th Ave. #700, Portland OR 97204; or, if it begins with "6" or "7", mail to 405 E 8th Ave #2600, Eugene OR 97401),
and (2) serves a copy thereof on the trustee, Peter________________________,
                                                          C. McKittrick              at 515
                                                                                        _________________________
                                                                                            NW Saltzman Rd., PMB #917,
Portland, OR 97229 or pmckittrick@mckittrickinc.com
________________________________________________________________________________________.

If no objection is filed, but the trustee receives any upset bids in the manner required above within 23 days of the
Trustee’s date below, the trustee will notify all persons who have expressed an interest in purchasing the above
property of the date, time and place of a meeting at which the trustee will conduct an auction and sell the property
to the highest bidder without further notice.

FOR FURTHER INFORMATION CONTACT: ____________________________________________________
                                     Peter C. McKittrick at 503-616-4979 or pmckittrick@mckittrickinc.com
________________________________________________________________________________________.

DATE: __________
        05/30/14
                                                                                    /s/ Peter C. McKittrick
                                                                                    _________________________________
                                                                                                        Trustee
760 (7/2/12)
                                    Case 14-32100-rld7            Doc 23       Filed 05/30/14
